Case 1:23-cv-01383-PTG-JFA Document 1-1 Filed 10/11/23 Page 1 of 4 PageID# 13
                                                                   EXHIBIT A



                                   baggage going back?

                                   12/28/20, 9:59 PM

   Somewhat less, we are leaving some of the
   boxes here.

   Is there a reason for asking?

                                   Weight and balance. I forgot to ask you before
                                   the first trip. They’ll fuel based on the weight of
                                   pax and bags. I will typically ask if you’re
                                   packing average, light, or heavy.

   Oh, ok, I didn't think we were anywhere close to
   a weight limit in that plane

                                   No, but we learned the hard way to ask. Helps
                                   the crew plan better. We do weight and balance
                                   as well as runway analysis for every flight and
                                   need the approximate weights to get our takeoff
                                   and landing numbers

   Is it a runway length issue?

   Oh, ok thanks.

                                   12/29/20, 12:07 PM

                                   In order to change your departure date to the
                                   4th, I have to shuffle some other flights around.
                                    Would it be ok if we planned for wheels up out of
                                   Hilton Head at 11 instead of noon?

                                   12/29/20, 1:41 PM

   Yes, that is what we wanted.

                                    1/3/21, 6:45 PM

   Do we have an N number for tomorrow morning?
   We are all set for an 1100 wheels up.

                                                                              N621MD

                                   I know this is kind of left-field, but I'm in LA
                                   buying a G4 the I'll be putting somewhere
                                   between DC and Boston. A friend of mine is
                                   going to own half and I'm going to sell my half as
                                   two 1/4 shares for $750k each. Exposure for



                                                                              IFLYAJET0003254
Case 1:23-cv-01383-PTG-JFA Document 1-1 Filed 10/11/23 Page 2 of 4 PageID# 14
                                                                   EXHIBIT A



                                     each partner for maintenance and fixed
                                     expenses is limited to their percentage
                                     ownership.

                                     The airplane was previously owned by Enrique
                                     Iglesias (the singer) and is currently owned by
                                     Mike Post (music composer who did a bunch of
                                     TV themes-Rockford Files, Magnum PI, LA Law).
                                      Post bought a G5.

                                     I'm going to get Buddy typed on the plane so he
                                     can do type ratings.

                                     Anyway, thought I'd run it past you. If it would fit
                                     in your hangar we could keep it at HEF.

                                     Count on be to throw out entertaining options!

                                     Bob

                                       1/3/21, 7:59 PM

   Yes, we are interested. It may fit in our hangar.
   I'm sure we can make something work.

                                                               I'll send you some pictures

                                     One nice thing is that it has CPDLC/FANS so it
                                     can use the Atlantic Tracks to Europe. Also has
                                     DirecTV

   Even better.

   They are asking if it will get into Hilton Head? I'm
   sure lightly loaded.

                                                                                       yes

   I guess maybe I should stop studying Falcons,
   and start Gulfstreams?

                                                          Not yet, but worth talking about

   Ok, just being a little funny.

                                           I know. Emailed you some pics with captions

   We like the pictures and could be very interested


                                                                                 IFLYAJET0003255
Case 1:23-cv-01383-PTG-JFA Document 1-1 Filed 10/11/23 Page 3 of 4 PageID# 15
                                                                   EXHIBIT A


   We like the pictures and could be very interested
    Want to know more about the maintenance
   programs and coming due items. Can you bring
   it by so we can see it?

                                    I’m in LA. We’re doing test flight tomorrow. Pre-
                                    buy completed Friday. I’ll send you a copy of our
                                    budget. Airplane is on 100% JSSI on the
                                    engines, MSP on the APU, HAPP for Honeywell
                                    avionics.

   And of course Mike Post did A-team and Baa Baa
   Black Sheep (I owned one of the Corsairs from
   the show).

                                                                              Funny.

                                    1/8/21, 12:52 PM




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Case 1:23-cv-01383-PTG-JFA Document 1-1 Filed 10/11/23 Page 4 of 4 PageID# 16
                                                                   EXHIBIT A




                           Phil,
                           Here are some additional photos of the airplane.
                           I’ll email you a copy of our draft budget shortly
                           Bob
                                                                        Not Delivered

                                 1/9/21, 4:53 PM


                                                                         IFLYAJET0003257
